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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                   Debtors1.                               (Jointly Administered.)

                                                           Related Docket No. 919

                    10-11 CLERKENWELL GREEN LIMITED’S NOTICE
             OF INTENT TO PARTICIPATE IN CONFIRMATION PROCEEDINGS

             10-11 Clerkenwell Green Limited in accordance with the Order Establishing

Confirmation Discovery Schedule and Protocols [D.I. 919] (the “Confirmation Discovery

Order”) hereby provides notice of its intent to participate in the Confirmation Proceedings, as that

term is defined in the Confirmation Discovery Order.

Dated: December 22, 2023                             BALLARD SPAHR LLP
       Wilmington, Delaware                          /s/ Nicholas J. Brannick
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1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100, Emeryville,
CA 94608.
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                                 CERTIFICATE OF SERVICE

       Nicholas J. Brannick certifies that on this 22nd day of December 2023 he caused a true and

correct copy of 10-11 Clerkenwell Green Limited’s Notice of Intent to Participate in Conformation

Proceedings to be served on the by electronic notice upon all parties registered to receive notice

via CM/ECF in these cases, and also upon the parties on the attached service list via first class mail

and e-mail.


Dated: December 22, 2023
Wilmington, Delaware
                                               /s/ Nicholas J. Brannick
                                               Nicholas J. Brannick (DE No. 5721)
                                               BALLARD SPAHR LLP
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